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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA




     UNITED STATES ex rel, EMILY            CV 17-8726 DSF (AFMx)
     ROE, et al.
          Plaintiffs,                       Order re Motion to Dismiss for
                                            Failure to Proceed Under True
                      v.                    Name (Dkt. No. 64)

     STANFORD HEALTHCARE
     BILLING DEPARTMENT, et al.,
          Defendants.



         Defendants have moved to dismiss the case due to Relator’s failure
     to prosecute the case under her true name as required by Federal Rule
     of Civil Procedure 10(a). The Court deems this matter appropriate for
     decision without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-
     15.

        The Court has dismissed the case on other grounds in a separate
     order. However, this does not moot the issue raised by the motion
     because the public has a separate and independent interest in the
     openness of judicial proceedings, and it is Relator’s burden to show that
     anonymity is warranted. “The normal presumption in litigation is that
     parties must use their real names.” Doe v. Kamehameha Sch./Bernice
     Pauahi Bishop Estate, 596 F.3d 1036, 1042 (9th Cir. 2010).

           To determine whether to allow a party to proceed
           anonymously when the opposing party has objected, a
           district court must balance five factors: (1) the severity of
           the threatened harm, (2) the reasonableness of the
           anonymous party’s fears, (3) the anonymous party’s
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           vulnerability to such retaliation, (4) the prejudice to the
           opposing party, and (5) the public interest.

     Id. (internal quotation marks and ellipsis omitted).

        Relator has not met her burden because she has not shown that she
     has any reasonable fear of severe harm. The harm that she claims –
     the potential for retaliatory discrimination within the medical field and
     possible discrimination in any future care at Stanford – is essentially
     the same kind of fear that any plaintiff faces in any case. 1 Relator has
     not provided any evidence of a concrete threat of any kind of retaliation
     that she is actually likely to face.

        Plaintiffs in litigation regularly file their complaints under their
     own names even though there could be some theoretical possibility of
     reprisals by third parties. In almost every case involving an individual
     plaintiff – and even in some involving business entity plaintiffs – there
     will be some argument that being known to have litigated an issue
     could set the plaintiff up for retaliation in the future. The law, both
     through the Federal Rules and through interpretation of the Rules, has
     made the policy choice that public knowledge about the use – and
     potential abuse – of the litigation system outweighs the purely
     theoretical possibility of retaliation that is present in any case. In
     addition, virtually every case involving physical injury or medical
     treatment requires some disclosure of otherwise private health
     information. The typical response to this is appropriate sealing, not
     anonymity.

        The public interest and Defendants’ interests also favors disclosure
     of Relator’s name, especially in the context of claims of fraud against
     the government. The public will be much less well-equipped to
     evaluate the serious allegations brought by the Relator if it has no way
     means of judging Relator’s competence and credibility. If Relator might

     1To the degree Relator is concerned that Stanford-affiliated entities or people
     would refuse to treat her in the future, remaining anonymous in this case
     does not solve that problem because Stanford – i.e., the Defendants – already
     know Relator’s true name.


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     be viewed as somehow not very competent or credible, Defendants have
     an interest in having the public view her allegations in that light.

        Relator has made no showing that her situation is any different
     from a typical litigant pursuing a case that might make someone,
     somewhere upset. Relator’s disclosure of her personal medical
     information can be addressed through targeted redaction and sealing. 2

        Relator is to file a statement disclosing her true name no later than
     July 20, 2020. The Clerk is ordered to correct the caption to reflect
     Relator’s true name.

         IT IS SO ORDERED.



     Date: July 13, 2020                     ___________________________
                                             Dale S. Fischer
                                             United States District Judge




     2 The basic outline of Relator’s medical experience at Stanford – i.e., that she
     had surgery there and the basic timeline and process of that treatment –
     likely should remain public because it appears essential to evaluating her
     substantive claims and her ability to bring a qui tam False Claims Act case.
     However, the precise nature of Relator’s condition and surgery does not
     appear particularly relevant. If Relator would like those details to be sealed,
     she should file an application to seal that complies completely with the
     procedures set out in the Local Rules. The Court will not grant applications
     to seal that do not follow the designated procedures or do not make the
     showing of good cause or compelling reasons necessary for the material to be
     sealed.


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